Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 1 of 13 PageID #: 91
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 2 of 13 PageID #: 92
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 3 of 13 PageID #: 93
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 4 of 13 PageID #: 94
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 5 of 13 PageID #: 95
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 6 of 13 PageID #: 96
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 7 of 13 PageID #: 97
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 8 of 13 PageID #: 98
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 9 of 13 PageID #: 99
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 10 of 13 PageID #: 100
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 11 of 13 PageID #: 101
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 12 of 13 PageID #: 102
Case: 4:20-cr-00626-HEA Doc. #: 51 Filed: 03/14/22 Page: 13 of 13 PageID #: 103




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